
USCA1 Opinion

	










          November 20, 1995
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1230

                      ANTHONY PARISI, II, A MINOR, BY HIS PARENT
                        AND NATURAL GUARDIAN, LORRALEE COONEY,

                                 Plaintiff, Appellee,

                                          v.

                           SHIRLEY S. CHATER, COMMISSIONER
                                 OF SOCIAL SECURITY,

                                Defendant, Appellant.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET


            The opinion  of this Court issued on November 8, 1995 is corrected
        as follows:

            On page 6, line 8: Replace "Parisi, Jr.'s" with "Anthony's";

            On page 7, line  1, page 7, line 2,  and page 14, line 18: Replace
        "Energy" with "Education".
         ______        _________






































                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1230

                      ANTHONY PARISI, II, A MINOR, BY HIS PARENT
                        AND NATURAL GUARDIAN, LORRALEE COONEY,

                                 Plaintiff, Appellee,

                                          v.

                           SHIRLEY S. CHATER, COMMISSIONER
                                 OF SOCIAL SECURITY,

                                Defendant, Appellant.
                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________
                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________


            Steve Frank, Attorney,  United States Department of Justice,  with
            ___________
        whom Frank W.  Hunger, Assistant  Attorney General,  Donald K.  Stern,
             ________________                                ________________
        United States  Attorney, and  William Kanter, Attorney,  United States
                                      ______________
        Department of Justice were on brief, for appellant.
            Sandra  L. Smales,  with whom  Raymond  Cebula  was on  brief, for
            _________________              _______________
        appellee.

                                 ____________________

                                   November 8, 1995
                                 ____________________




















                     LYNCH, Circuit Judge.   In 1991 when Anthony Parisi,
                     LYNCH, Circuit Judge.
                            _____________

            II  ("Anthony")  was  nine  years old,  the  Social  Security

            Administration  reduced  the  amount  he  was  receiving   in

            dependent child's benefits on  account of his disabled father

            Anthony  Parisi ("Parisi") from $464 a month to $262 a month.

            The purported justification for  the reduction is a provision

            in the Social Security Act ("SSA") that sets a maximum amount

            that can be paid out  on a single wage earner's account.   If

            the  benefits paid  on  that account  exceed  the maximum,  a

            reduction  is required to comply  with the cap.   The cap was

            exceeded  in this case,  the agency says,  when Parisi's wife

            (who is not Anthony's  mother and with whom Anthony  does not

            live)  was  deemed "entitled"  under  one  subsection of  the

            statute  to spousal  benefits on  Parisi's account.   Another

            part of the same section of the statute,  however, prohibited

            any portion  of those  benefits from  actually being paid  to

            her.  The question is whether those spousal "benefits," which

            were never actually payable, were properly counted toward the

            family  maximum  cap.   We conclude  that  they were  not and

            accordingly  affirm  the  district court's  reversal  of  the

            agency's determination.


                                I.  Factual Background
                                    __________________

                     While married  to Adriana Parisi,  Anthony Parisi, a

            fisherman,  had a  child, Anthony  Parisi, II,  with Lorralee

            Cooney of Gloucester, Massachusetts.   Anthony lives with Ms.


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                                          2















            Cooney, who has sole custody of him and brings this action on

            his behalf.

                     In February 1988, Parisi became disabled, and he and

            Anthony, as his dependent,  started receiving payments on his

            account as a wage  earner.1  In 1991, Adriana  Parisi applied

            for  and became  eligible  for  early retirement  ("old-age")

            benefits under the SSA based on her own wage-earner's record.

            By  operation of  the statute,  she was  automatically deemed

            also  to have applied for and to qualify for spousal benefits
            ____

            on Parisi's account.   See 42  U.S.C.   402(r)(1).   However,
                                   ___

            because the benefits to which Adriana was entitled on her own
                                                                      ___

            account exceeded the spousal benefits for which she qualified

            on her husband's account, it was determined that she could be

            paid benefits only on her own account.

                     The  agency also  decided,  however,  that Adriana's

            spousal benefits   even though not actually payable to her or

            anyone  else    still  had to  be  counted toward  the  SSA's

            statutory  limit (the "family maximum") on benefits available

            on a single  worker's record.   Because the benefits  Anthony

            was  already  receiving,  when  combined  with  Parisi's  own

            benefits  and  Adriana's   (non-payable)  spousal   benefits,

            exceeded  the  statutory maximum  amount, the  agency reduced

            Anthony's  dependent  benefits.    Lorralee  Cooney   was  so

                                
            ____________________

            1.  It  is  undisputed that  Anthony  was  and still  remains
            entitled to  receive dependent child's benefits  on the basis
            of Parisi's work record.

                                         -3-
                                          3















            notified.  On reconsideration at Cooney's request, the agency

            reaffirmed its decision to reduce Anthony's benefits.

                     The  agency's  determination   was  appealed  to  an

            administrative   law  judge   ("ALJ"),  who   concluded  that

            Adriana's non-payable  spousal benefits should not be counted
                                                           ___

            toward the  family maximum.   The agency  appealed the  ALJ's

            decision  to  the  Social  Security  Appeals  Council,  which

            reversed  the  ALJ.    The  Appeals  Council's  decision  was

            appealed to the district court.  See 42  U.S.C   405(g).  The
                                             ___

            agency  argued  that under  the  plain language  of  the SSA,

            calculation    of   the    family   maximum    includes   all
                                                                      ___

            "entitlements," not just entitlements  that result in  actual

            payment.  The  district court disagreed.   It concluded  that

            the  SSA's "family  maximum"  cap on  benefits  was meant  to

            include  only  "effective  entitlements"  (entitlements  that

            result    in   some   actual   payment),   not   "conditional

            entitlements,"  and  that  because  Adriana  Parisi's spousal

            benefits were  only conditional (upon her  not being entitled
                                ___________

            to a larger benefit  on her own wage-earner's  account), they

            were not properly counted toward the family maximum.


                          II.  Relevant Statutory Provisions
                               _____________________________

                     The  two statutory provisions primarily at issue are

            42 U.S.C.   403(a) and 42 U.S.C.    402(k)(3)(A).  The former

            contains the "family maximum" provision and the latter is the

            provision that prevents  Adriana Parisi  from being  actually


                                         -4-
                                          4















            paid  any  spousal benefits  on  the basis  of  Parisi's work

            record (which she would otherwise have received under section

            402(b)(1)).   Section  403(a) provides  in pertinent  part as

            follows:

                     . . . [T]he total monthly benefits to  which
                     beneficiaries may be entitled under  section
                     402 or 423  of this title for a month on the
                     basis  of  the  wages  and   self-employment
                     income  of  [an]   individual  [wage-earner]
                     shall . . . be  reduced as  necessary so  as
                     not  to  exceed [the  maximum amount  set by
                     statute].

            42 U.S.C.   403(a)(1).   And section 402(k)(3)(A) provides in

            relevant part:

                     If an individual  is entitled to an  old-age
                     or  disability  insurance  benefit  for  any
                     month and  to  any other  monthly  insurance
                     benefit   for   such   month,   such   other
                     insurance benefit for such  month, after any
                     reduction  . . .  under  section  403(a)  of
                     this title,  shall be reduced, but not below
                     zero, by an amount equal to  such old-age or
                     disability insurance benefit . . . .

            42 U.S.C.    402(k)(3)(A).

                     The parties  agree that, because  the monthly amount

            of Adriana Parisi's  old-age benefits on her  own work record

            exceeds the amount of  spousal benefits she could be  paid on
            _______

            her    husband's    record    under     section    402(b)(1),

            section 402(k)(3)(A) has  the result of reducing  to zero the
                                                                 ____

            payable amount of Adriana  Parisi's spousal benefits.  It  is

            also agreed that Adriana's  own old-age benefits, as  well as

            Parisi's benefits, are not subject to reduction under section
                                   ___

            403(a).    Thus  the  only  payable  benefits  at  stake  are


                                         -5-
                                          5















            Anthony's.2  The  statutory issue  is whether  the amount  of

            "total  monthly  benefits  to  which  beneficiaries   may  be

            entitled" for  purposes of  section 403(a) must  include what

            the monthly  amount of Adriana's spousal  benefits would have

            been under section 402(b)(1) but for the operation of section

            402(k)(3)(A)  of  the  statute.    If  Adriana's  non-payable

            spousal  benefits   are  included   in  the   family  maximum

            calculation,  then Anthony's benefits  were properly reduced.

            If not, then the district court's judgment must be affirmed.


                                   III.  Discussion
                                         __________

                     Our analysis  begins with  the text  of the statute.

            If the meaning  of the text is clear,  then that meaning must

            be  given effect, unless it would produce an absurd result or

            one manifestly  at odds  with the statute's  intended effect.

            St.  Luke's Hosp. v. Secretary of HHS, 810 F.2d 325, 331 (1st
            _________________    ________________

            Cir. 1987).   If the  relevant text and  congressional intent

            are ambiguous, then an  agency's reasonable interpretation is

            entitled to deference.   See Chevron U.S.A.,  Inc. v. Natural
                                     ___ _____________________    _______

            Resources Defense  Council, Inc., 467  U.S. 837  (1984).   No
            ________________________________

            deference, though,  is due  an agency interpretation  that is

            inconsistent with  the language  of the statute,  contrary to

            the  statute's  intended   effect,  arbitrary,  or  otherwise

                                
            ____________________

            2.  The parties also agree that if  Adriana had actually been
            paid   spousal  benefits   on   Parisi's   account,  then   a
            corresponding reduction  in benefits for  Anthony would  have
            been warranted under the family maximum provision.

                                         -6-
                                          6















            unreasonable.   See Massachusetts  Dep't of Energy  v. United
                            ___ ______________________________     ______

            States Dep't of Education, 837 F.2d 536, 541 (1st Cir. 1988).
            _________________________


            A.  The Statutory Language
                ______________________

                     The  agency  claims  that  its  position  is plainly

            supported  by  two aspects  of the  statutory text:  the term

            "entitled"  in  section 403(a),  and  the  phrase "after  any

            reduction   . . .   under    section   403(a)"   in   section

            402(k)(3)(A).   We conclude that the statutory  text does not

            support the intuitively troubling result urged by the agency.

                     The Commissioner of Social Security ("Commissioner")

            emphasizes that the family maximum is formulated on the basis

            of entitlement, and that section 403(a) never speaks in terms
               ___________

            of  benefits actually  received.   Thus,  the argument  goes,

            because subsection  (b)(1)  of  section  402,  considered  in

            isolation, "entitles" Adriana Parisi  to spousal benefits  on

            the  basis of her husband's SSA record, such benefits must be

            included in  the family maximum calculation,  even though the

            same  section of the statute just a few paragraphs later, see
                                                                      ___

              402(k)(3)(A), operates to render those very benefits wholly

            non-payable.
            ___________

                     The  Commissioner's   argument  is   strained,   and

            certainly  not  dictated  by   the  statutory  text's   plain

            language.  Section 403(a)(1)  of the SSA limits  and requires

            the reduction  "as necessary" of the  "total monthly benefits

            to  which beneficiaries  may  be entitled  under section  402
                                                       __________________


                                         -7-
                                          7















            . . . on the basis of the wages and self-employment income of

            [the  wage-earner, here  Mr.  Parisi]."   42 U.S.C.    403(a)

            (emphasis  added).   The agency's  claim that  section 403(a)

            requires the  inclusion of  all "entitlements" in  the family

            maximum  computation begs  the question  whether  a so-called

            "entitlement"  created in  one  part of  section 402  that is

            simultaneously prevented from  yielding any actually  payable

            benefit  by another  applicable  portion of  section 402  can

            properly be  deemed an  "entitle[ment] under section  402" at

            all.3   We doubt that it can.   Indeed, even according to the

            agency's own regulatory definition, a person is "entitled" to

            a benefit only when that person "has proven his  or her right

            to  benefits for  a period  of time."   20  C.F.R.   404.303.

            Here, Adriana Parisi has "proven"  no right to benefits under
                                                                    _____

            section 402 (taken as a whole) for any period of time.
            ___________                        ___

                     We   need   not   decide,   however,   whether   the

            Commissioner's understanding  of  the term  "entitlement"  is

            somehow  supportable,  because  the agency's  argument,  even

            taken  on its  own terms, does  not carry  the day.   For one


                                
            ____________________

            3.  It would seem an unconventional usage at best to say that
            Adriana  Parisi is  entitled  to benefits  which the  statute
                                ________
            clearly disallows in her  case, leaving her with not  even an
            expectancy  of receiving them.  Cf. Board of Regents v. Roth,
                                            ___ ________________    ____
            408 U.S.  564, 576-77 (1972) (an entitlement, contrasted to a
                                             ___________
            mere expectancy, creates a property interest protected by the
            Fourteenth Amendment); Goldberg v.  Kelly, 397 U.S. 254, 260-
                                   ________     _____
            66  &amp;  n.8  (1970)   (deprivation  of  statutory  entitlement
                                                              ___________
            triggers procedural  due process concerns); see  also Bell v.
                                                        _________ ____
            Burson, 402 U.S. 535, 539 (1971) (similar).
            ______

                                         -8-
                                          8















            thing, the  claim that section 403(a)  is concerned primarily

            with "entitlements" is not,  in fact, fully borne out  by the

            actual  language of  the statute.   Section  403(a) places  a

            limit  not on entitlements per  se, but rather  on "the total
                                       ___  __

            monthly benefits to which beneficiaries may be entitled under
                    ________                                        _____

            section 402 . . . ."  42 U.S.C.   403(a) (emphases added).  A
            ___________

            natural reading  of this  language suggests that  the primary

            object of limitation is the "total monthly benefits" produced

            by the operation  of section 402 as a whole,  and not, as the
                                             __________

            Commissioner  argues, theoretical entitlements created by one

            fragment  of section  402 considered in  artificial isolation

            from the rest of that same section, and wholly apart from the

            benefits that ultimately attach.  Here, the total benefits to
                                                              ________

            which Adriana Parisi might be deemed "entitled" under section

            402     when that  section is  considered  in its  entirety  

            amount  to zero.   Hence,  Adriana's putative  benefits under
                       ____

            section  402 could  not possibly  contribute anything  to the

            family maximum computation under section 403(a).

                     In addition to requiring an unnatural reading of the

            statute,  the Commissioner's  argument is  logically unsound.

            Under the Commissioner's "pure entitlement" approach, section

            403(a)  is  said to  place  a ceiling  on  pure entitlements,

            regardless whether  any payable benefits attach  thereto.  If

            the  total  amount  of  entitlements available  on  a  single
                                    ____________

            worker's record  exceeds the  statutory limit, so  the theory



                                         -9-
                                          9















            goes, a  reduction under section 403(a)  is required, whether

            the  excess entitlements produce payable benefits or not.  On

            the other  hand, the Commissioner  simultaneously claims that

            when  the total  amount of  "entitlements" causes  the family

            maximum cap to be  exceeded, it is the payable  benefits that
                                                   _______  ________

            are subject to reduction under the statute.  This position is

            internally inconsistent.   If the thrust of section 403(a) is

            to  place a limit on entitlements, it is contradictory to say
                                 ____________

            that compliance with the  family maximum cap can be  achieved

            through a reduction of  payable benefits.  Because  under the
                                    _______ ________

            Commissioner's  logic, an "entitlement"  is entirely separate

            from the payable benefits (if any) that attach, it would seem

            to  follow that a reduction  in benefits paid  could never be
                                                     ____

            effective to achieve compliance with the cap.

                     We conclude that  the Commissioner's contention that

            section   403(a)   is  concerned   purely   with  theoretical

            entitlements,  irrespective of  whether any  actually payable

            benefits attach thereto, is supported neither by the language

            of the statute nor by reason.

                     We  also  are  unpersuaded  by   the  Commissioner's

            argument  to the  extent it  rests on  the phrase  "after any

            reduction    . . .   under   section   403(a)"   in   section

            402(k)(3)(A).   The  Commissioner contends  that this  phrase

            specifically    instructs    that    the   reduction    under

            section 403(a)  for  compliance   with  the  family   maximum



                                         -10-
                                          10















            provision  be computed  before any  reduction is  taken under
                                    ______

            section 402(k)(3)(A),  and that,  therefore, for  purposes of

            section  403(a), Adriana  Parisi's  spousal benefits  must be

            treated (contrary to fact) as if they were fully payable.

                     The Commissioner  reads  too  much into  the  phrase

            "after any  reduction . . .  under section 403(a)."   Section

            402(k)(3)(A) is triggered when  an individual who is entitled

            to  old-age benefits on  her own  social security  record (as

            Adriana  is in this case)  is also facially  entitled to some
                                          ____

            other simultaneous benefit (in this case, spousal benefits on

            Parisi's  account).   In substance, section  402(k)(3)(A) has

            the  effect  of authorizing  such  an  individual to  receive

            payment of  the larger of the two  simultaneous benefits, but

            not  both.4   Thus, section  402(k)(3)(A) requires  comparing

            the size  of the beneficiary's  "other" benefit with  her own

            old-age  benefit.   The  "after any  reduction under  section

            403(a)"  language in  section  402(k)(3)(A) ensures  that, in

            determining the amount of the "other" simultaneous benefit in

            question,  the  calculation  will   take  into  account   any

            reduction  to the  "other"  benefit that  would otherwise  be

            required  under section  403(a).   This prevents  the old-age


                                
            ____________________

            4.  More precisely, the provision entitles the beneficiary to
            payment of  her old-age  benefit plus the  difference between
                                             ____
            the  "other"  benefit  and   the  old-age  benefit,  if  that
            difference is greater than zero.  This is the same  as saying
            that  the beneficiary is entitled  to an amount  equal to the
            larger of the two simultaneous benefits in question.

                                         -11-
                                          11















            beneficiary from receiving, by operation  of the simultaneous

            benefits  provision,  any  amount  of  benefits   that  would

            otherwise be excluded as exceeding the cap imposed by section

            403(a).5

                     There  is  nothing   in  the  language  of   section

            402(k)(3)(A) or  section 403(a), however, that  dictates that

            the family  maximum computation cannot take  into account the

            fact that  an entitlement  that would normally  contribute to

            the  family maximum  amount  has  been  reduced  to  zero  by

            operation of  the simultaneous benefits  provision of section

            402(k)(3)(A).  It is true that the computation required under

            section  402(k)(3)(A)  requires  a provisional  determination

            whether  the  "other" simultaneous  benefit  (here, Adriana's

            spousal benefits) would, if  payable, be subject to reduction

            under section 403(a).  But this computation is only necessary

            for the  purpose  of  determining what  portion  of  the  two

            simultaneous  benefits the beneficiary  (Adriana) is entitled

            to receive.   There is  no language in  section 402(k)(3)(A),

            and  certainly  not in  section  403(a),  requiring that  the


                                
            ____________________

            5.  Suppose,   for   example,    that   a   beneficiary    is
            simultaneously entitled to receive her own old-age benefit of
            amount  B and a  spousal benefit of  amount S.   Suppose also
            that if the spousal benefit were payable, the family  maximum
            cap would be exceeded,  and the spousal benefit (S)  would be
            reduced by the  amount of the statutory  reduction, to amount
            S(r).    The  "after   any  reduction"  language  in  section
            402(k)(3)(A)  ensures that  the beneficiary  will receive  an
            amount equal  to the larger  of B and  the reduced S(r),  not
                                                                      ___
            simply the larger of B and S.

                                         -12-
                                          12















            family maximum  computation ignore the actual  results of the
                                        ______

            simultaneous benefits determination of section 402(k)(3)(A).

                     To the contrary, the statutory language  suggests an

            interplay  between  section 403(a)  and  section 402(k)(3)(A)

            that  belies  the  position  advanced  by  the  Commissioner.

            Section 403(a)  requires only such "reduc[tion]  as necessary
                                                             ____________

            so as not to  exceed" the family maximum.   The determination

            of whether a reduction is necessary in this case depends upon

            the  calculation of  the  "total monthly  benefits" to  which

            Adriana Parisi "may  be entitled  under section  402" on  the

            basis of her husband's SSA record.  As explained, that amount

            is  zero.    Hence,  the relevant  "total  monthly  benefits"
                ____

            available under section 402 on Parisi's work record (combined

            with  Parisi's  own benefits)  do  not  exceed the  statutory

            ceiling.  It cannot be "necessary," then, to reduce Anthony's

            benefits.

                     We  conclude that  the Commissioner's  position does

            not follow  from the  plain language of  section 402(k)(3)(A)

            and section 403(a).


            B.  Legislative History
                ___________________

                     As the district court  observed, the  interpretation

            urged  by the  Commissioner produces  a result  that Congress

            apparently   sought  to   avoid.     The  most   illuminating

            legislative  comments  are  found   in  connection  with  the




                                         -13-
                                          13















            enactment of the  1949 amendments to  the SSA, which  changed

            the previously existing family maximum provision:

                     Under the  present  law,  the total  of  the
                     family benefits  for a  month is reduced  to
                     the  maximum  permitted by  section [403(a)]
                     prior  to any  deductions on  account of the
                     occurrence of  any  event specified  in  the
                     law . . . .  Section [403(a)] as amended  by
                     the   bill   reverses  this   procedure  and
                     provides that  the  reduction in  the  total
                     benefits for  a month  is to  be made  after
                     the deductions.   As a result, larger family
                     benefits will be payable in many cases.

            S. Rep. No. 1669,  81st Cong., 2d Sess. (1950),  reprinted in
                                                             ____________

            1950  U.S.C.C.A.N. 3287,  3361.   After  this statement,  the

            Senate  Report set forth a hypothetical scenario illustrating

            that  under  the amendments  to  section  403(a), the  family

            maximum provision  would not operate to reduce  a child's SSA

            benefits on account of  a family member's nominal entitlement

            to benefits that are not actually payable.  See id.
                                                        _______

                     Congress expressed an intent that section 403(a) not

            operate to deprive a  dependent child of SSA benefits  on the

            basis  of  theoretical entitlements  that  produce no  actual

            benefits.     The   agency's  reading   of  the   statute  is

            inconsistent with that intent.


            C.  Regulatory Language
                ___________________

                     Our     conclusion    that     the    Commissioner's

            interpretation of  the statute is inconsistent  with both its

            text and intended effect  suffices, under Chevron, to obviate
                                                      _______

            any requirement of  deference to the agency's  position.  See
                                                                      ___


                                         -14-
                                          14















            Massachusetts  Dep't of  Energy, 837  F.2d at  541.   We add,
            _______________________________

            however, as  a  capstone to  our  analysis, that  the  Social

            Security Administration's  own regulations are  at odds  with

            its  proposed construction  of the  statute.   The regulation

            that  describes generally  the effect  of the  family maximum

            provision explains its operation in this way:

                     Family Maximum.   As explained in   404.403,
                     ______________
                     there  is  a  maximum  amount  set  for each
                     insured   person's  earnings   record   that
                     limits the  total benefits  payable on  that
                                 _______________________
                     record.  If you are entitled  to benefits as
                     the  insured's  dependent or  survivor, your
                     benefits  may   be  reduced  to  keep  total
                                                            _____
                     benefits  payable  to  the insured's  family
                     _________________
                     within these limits.

            20 C.F.R.   404.304(d) (emphasis added).  The regulation that

            more  specifically  describes  the operation  of  the  family

            maximum provision contains similar language:

                     The Social  Security Act  limits the  amount
                     of  monthly benefits  that can  be  paid for
                                 ____________________________
                     any  month  based  on  the  earnings  of  an
                     insured individual.

            20 C.F.R.   404.403(a)(1) (emphasis added).

                     The agency's  own  interpretative  regulations  thus

            interpret the family maximum  provision as operating to limit

            the  "amount  of  benefits that  can  be  paid"  on a  single
                                                      ____

            worker's account.  They do not state that section 403(a) caps

            the total amount of  entitlements that might be available  on
                                 ____________

            an   account.    That  the  agency  has  chosen  in  its  own

            regulations  to  describe the  family  maximum  as placing  a

            ceiling on  benefits paid or  payable casts further  doubt on
                                 ____     _______


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            its  contention here  that section  403(a) is  concerned with

            capping  pure  entitlements,  regardless  of  the  amount  of
                                          __________

            payable benefits that attach.

                     To  similar  effect is  language  contained  in  the

            agency's   written   rulings   on   Anthony's   benefits   as

            communicated to  Lorralee Cooney.   In the first  letter from

            the Social  Security Administration  to Cooney  notifying her

            that  her  son's  benefits  were to  be  reduced,  the agency

            explained that the reduction was required because the statute

            imposes  a "limit  on how  much we can  pay on  each person's
                                                    ___

            Social  Security record [emphasis  added]."  And  later, in a

            letter    reaffirming    its    initial     decision    after

            reconsideration, the  agency informed Cooney that  the family

            maximum provision  "limits the  total amount of  the benefits

            payable on an individual's earnings record."
            _______

                     The regulations  and agency statements quoted  above

            support  the  conclusion  we  adopt here,  namely,  that  the

            "family  maximum"  provision of  section  403(a) operates  to

            limit  only  those  benefits that  are  payable  on a  single
                                                    _______

            worker's account.


            D.  Policy Considerations
                _____________________

                     We  observe,  finally,  that  the  purported  policy

            reasons offered in support of the Commissioner's construction

            of the statute lack persuasive force.




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                     The agency says its  position prevents families from

            receiving duplicative  or excessive benefits.   In this case,

            the  Commissioner  asserts,  applying section 403(a)  in  the

            manner suggested would  have the effect  of making the  total

            amount  of benefits  payable  to the  "family unit"  (Parisi,

            Anthony,  and Adriana)  roughly  the same  as  it was  before

            Adriana became entitled to receive her own old-age benefits.

                     The problem with  this rationale is twofold.  First,

            the family maximum provision (despite its common appellation)

            is written not as  a broad limitation upon the  amount that a
                       ___

            family  unit can receive in total SSA benefits, but rather as

            a specific  limitation upon the amount  of benefits available

            on the  basis of  a single  worker's record.   See 20  C.F.R.
                                                           ___

              404.403(a)(1)  (explaining  that  section  403(a)  places a

            maximum "for  each person's  earnings record that  limits the

            total benefits  payable  on that  record" (emphasis  added)).
                                     _______________

            Adriana "earned" her old age  benefits through her own  years

            in the work force,  not because she  was the wife of  Parisi.

            The question under section 403(a) is not whether the family's
                                                                 ______

            benefits  have  exceeded a  certain  level,  but whether  the

            benefits  payable  on  a single  wage-earner's  account  have

            exceeded the statutory maximum.

                     Second, the agency's suggestion  that the  reduction

            of benefits  to Anthony prevents duplicative  payments to the

            "family  unit" rings hollow.   Anthony lives with his natural



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                                          17















            mother, not with  Adriana and  Parisi.  The  agency does  not

            suggest that  any portion  of Adriana's or  Parisi's benefits

            reaches the child.   The agency's statement  that "the family

            unit  continues  to receive  approximately  the same  overall

            benefits as  it did before"  thus distorts reality.  In fact,

            under the agency's interpretation, Anthony receives only half

            the benefits he was receiving before; and because neither the

            father's  nor Adriana  Parisi's own  benefits are  subject to

            reduction under  the family maximum provision, it is only the
                                                                 ____

            child who has been adversely affected  by the agency's action

            in this case.

                     The other purported  policy justification offered in

            defense of  the Commissioner's position is  that reduction of

            the child's benefits in  this case is required to  uphold the

            meaning  of  "entitlement."   The Commissioner  contends that

            because section 403(a) places  a limit on "entitlements," and

            because  Adriana Parisi  is  "entitled" to  spousal  benefits

            under  one  subsection  of  the statute  (even  though  those

            benefits  are not  payable),  failure to  include those  non-

            payable  benefits in the family maximum tally will dilute the

            meaning of "entitlement" under the SSA.

                     We find  this reasoning  unpersuasive.   The flaw in

            this  argument is the same  as the flaw  underlying its plain

            meaning argument:  it incorrectly assumes that section 403(a)

            is concerned  with  keeping  pure  "entitlements"  under  the



                                         -18-
                                          18















            statutory limit.   To the  contrary, as  we concluded  above,

            section 403(a)  operates  in this  case  to limit  the  total

            amount of  benefits payable on a  single wage-earner's record
                       ________ _______

            under the relevant benefits provisions (read as a whole), not

            to  limit  entitlements  theoretically  available  under  one

            subsection of the statute considered in artificial isolation.

            In   any  event,   although  this   conclusion  negates   the

            Commissioner's  claim  that   Adriana  Parisi's   non-payable

            spousal  benefits  must be  included  in  the family  maximum

            calculation,   it   does    not   directly   undermine    the

            Commissioner's purported definition of "entitlement,"  nor is

            it  necessarily inconsistent  with saying  here  that Adriana

            Parisi  has,  in some  abstract  sense,  an "entitlement"  to

            spousal benefits  under section  402(b)(1) read  in isolation

            from the rest  of section 402.   We hold only  that Adriana's

            non-payable spousal benefits do  not count toward the section

            403(a) "family maximum."


            E.  Conclusion
                __________

                     We  conclude   that  the   Commissioner's   proposed

            construction  of  section  403(a)  is not  supported  by  the

            language of the statute, is logically flawed, is inconsistent

            with  the  statute's  intended  effect, is  contrary  to  the

            agency's own interpretative regulations, and is not supported

            by  any sound considerations  of policy.   Accordingly, we do

            not defer to the Commissioner's position under the principles


                                         -19-
                                          19















            of Chevron, and we hold that section 403(a) operates to limit
               _______

            the total  amount of  benefits actually payable  on a  single
                                                    _______

            worker's record, not the amount of entitlements theoretically

            available.6

                     In this case, because Adriana Parisi's "entitlement"

            under section 402(b)(1) to  spousal benefits on Parisi's work

            record  produces zero  payable benefits  as a  result  of the
                             ____  _______

            operation  of  section  402(k)(3)(A),  no such  benefits  are

            included  in the  computation required  under section 403(a).

            Consequently,  the total  amount of  benefits payable  on the

            basis of  Parisi's work  record does not  exceed the  maximum

            imposed  by  the  statute,  and it  is  not  "necessary"  for

            purposes of section 403(a) to reduce Anthony's benefits.  The

            district court correctly reversed  the decision of the Social

            Security Appeals Council.



                     Affirmed.
                     ________




                                
            ____________________

            6.  Our reasoning differs from  that employed by the district
            court.   The district  court's analysis distinguished between
            "effective"   and   "conditional"    entitlements.       This
            distinction, although sensible, has no roots in the statutory
            language.   We  rely, instead,  on  the notion  that  section
            403(a) places  a limit  not  upon non-payable  "entitlements"
            created  by  an  isolated subsection  of  the  SSA,  but upon
            payable benefits    in this case, the  total benefits yielded
            by  section 402 of the SSA  read as a whole.   This notion is
            semantically supported by the  statutory framework and by the
            agency's own  regulations, which speak  specifically in terms
            of payable benefits (e.g., 20 C.F.R.   404.304(d)).
               _______ ________  ____

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